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 6

 7

 8                  IN THE UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            )      CR-1:97-CR-5129 LJO-3
                                          )
12                                        )      ORDER APPROVING 30-DAY
                                          )      EXTENSION OF TIME FOR
13                                        )      FILING OF PETITIONER’S REPLY
                                          )      BRIEF TO GOVERNMENT’S
14                                        )      OPPOSITION
                                          )
15                                        )
                                          )
16   LAWRENCE ROBINSON,                   )
                                          )
17                                        )
           Defendant and Petitioner.      )
18                                        )
19         Good cause appearing, it is hereby ordered as follows that Petitioner’s reply
20
     brief to the Government’s Opposition and Motion to Dismiss be extended by 30
21

22   days to August 23, 2017.

23   IT IS SO ORDERED.
24
        Dated:   June 30, 2017                    /s/ Lawrence J. O’Neill _____
25                                        UNITED STATES CHIEF DISTRICT JUDGE

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